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                                          5   Attorneys for Plaintiff,
                                              Sam Devine
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                                          7
                                                                  IN THE UNITED STATES DISTRICT COURT
                                          8
                                                                    SOUTHERN DISTRICT OF CALIFORNIA
                                          9
                                         10      SAM DEVINE,                                             Case No.: 3:16-cv-02999-AJB-MDD
                                         11
                                                                Plaintiff,
                                         12                                                              JOINT MOTION FOR
                                                 v.                                                      DISMISSAL OF THE ENTIRE
HYDE & SWIGART




                                         13                                                              ACTION WITH PREJUDICE
                 San Diego, California




                                         14      THE JUDGE LAW FIRM, ALC and                             HON. ANTHONY J. BATTAGLIA
                                         15      STONECREST VILLAGE
                                                 MASTER ASSOCIATION,
                                         16
                                                                Defendants.
                                         17
                                         18
                                         19      STONECREST VILLAGE
                                                 MASTER ASSOCIATION
                                         20
                                         21                     Cross-Claimant,
                                         22      v.
                                         23
                                         24      THE JUDGE LAW FIRM, ALC and
                                                 ROES 1 THROUGH 10, inclusive,
                                         25               Cross-Defendant.
                                         26
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                                         28
                                               ______________________________________________________________________________________________________
                                                JOINT MOTION FOR DISMISSAL                    - 1! of ! 3 -               3:16-cv-02999-AJB-MDD
                                          Case 3:16-cv-02999-AJB-MDD Document 56 Filed 06/01/18 PageID.354 Page 2 of 3


                                          1
                                          2        Plaintiff SAM DEVINE, defendant/cross-defendant THE JUDGE LAW FIRM,
                                          3   ALC, and defendant/cross-plaintiff STONECREST VILLAGE MASTER

                                          4   ASSOCIATION (collectively “Parties”) hereby jointly move this Court to dismiss

                                          5   the entire action, including the cross-claims, with prejudice pursuant to the Federal

                                          6   Rule of Civil Procedure 41(a)(1)(ii).
                                                     WHEREFORE, the Parties respectfully request that this Court dismiss the
                                          7
                                              entire action with prejudice pursuant to the Federal Rule of Civil Procedure 41(a)
                                          8
                                              (1)(ii). This Court retains jurisdiction for purposes of settlement.
                                          9
                                         10
                                         11   Dated: May 30, 2018                                        HYDE & SWIGART, APC
                                         12
                                                                                                 By: s/Yana A. Hart, Esq.
HYDE & SWIGART




                                         13                                                            Yana A. Hart
                 San Diego, California




                                                                                                       Attorney for Plaintiff
                                         14
                                         15
                                                                                                        THE JUDGE LAW FIRM, ALC
                                         16   Dated: May 30, 2018
                                         17
                                                                                                 By: s/James Judge
                                         18                                                            James Judge
                                                                                                       Attorney for Defendant/
                                         19
                                                                                                       Cross-Defendant,
                                         20                                                            The Judge Law Firm, ALC
                                         21
                                         22                                                             GORDON & REES LLP
                                              Dated: May 30, 2018
                                         23
                                         24                                                      By: s/Christina Vander Werf
                                                                                                       Christina Vander Werf
                                         25                                                            Attorney for Defendant/
                                                                                                       Cross-Plaintiff, Stonecrest
                                         26
                                                                                                       Village Master Association
                                         27
                                         28
                                               ______________________________________________________________________________________________________
                                                JOINT MOTION FOR DISMISSAL                    - 2! of ! 3 -               3:16-cv-02999-AJB-MDD
                                          Case 3:16-cv-02999-AJB-MDD Document 56 Filed 06/01/18 PageID.355 Page 3 of 3


                                          1
                                                                                  Signature Certification
                                          2
                                                     Pursuant to Section 2(f)(4) of the Electronic Case Filing Administrative
                                          3
                                              Policies and Procedures Manual, I hereby certify that the content of this document
                                          4
                                              is acceptable to all Counsel whose signatures are attached above, and that I have
                                          5
                                              obtained their authorization to affix their electronic signatures to this document.
                                          6
                                          7
                                              Dated: May 30, 2018                                        HYDE & SWIGART
                                          8
                                          9                                                      By: s/Yana A. Hart, Esq.
                                                                                                       Yana A. Hart
                                         10                                                            Attorney for Plaintiff
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HYDE & SWIGART




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                 San Diego, California




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                                                JOINT MOTION FOR DISMISSAL                    - 3! of ! 3 -               3:16-cv-02999-AJB-MDD
